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(3/15)


                              UNITED STATES DISTRICT COURT
                                                           for
                                           Eastern District of Washington


U.S.A. vs.                   Cassidy, II, Lucas T.                     Docket No.         0980 2:17CR00128-RMP-9


                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Jonathan C. Bot, PRETRIAL SERVICES OFFICER presenting an official report upon the
conduct of defendant Lucas T. Cassidy, II, who was placed under pretrial release supervision by the Honorable U.S.
Magistrate Judge John T. Rodgers sitting in the court at Spokane, Washington, on the 6th day of September, 2017, under
the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant admitted to the use of methamphetamine and heroin on or about September 6, 2017.

                          PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:        October 4, 2017
                                                                 by      s/Jonathan C. Bot
                                                                         Jonathan C. Bot
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[ x]     The Issuance of a Summons
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other
                                                                           Signature of Judicial Officer
                                                                             10/05/2017

                                                                           Date
